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                       UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF OHIO



UNITED STATES OF AMERICA,                 )      CASE NO. 4:07CR494-001
                                          )
               PLAINTIFF,                 )      JUDGE PETER C. ECONOMUS
                                          )
         v.                               )
                                          )
ANA FARIAS, aka ANA FARIAS                )      MEMORANDUM OPINION
CERVALLOS,                                )      AND ORDER
                                          )
               DEFENDANT.                 )
                                          )


         This matter is before the Court upon Magistrate Judge George J. Limbert’s

Report and Recommendation that the Court ACCEPT Defendant Ana Farias’

(“Defendant”) plea of guilty and enter a finding of guilty against Defendant. (Dkt. #

84.)

         On September 25, 2007, the government filed an Indictment against Defendant.

(Dkt. # 10.) On September 22, 2008, the Court issued an order referring this case to

Magistrate Judge Limbert for the purpose of receiving Defendant’s guilty plea. (Dkt.

# 81.)

         On September 22, 2008, a hearing was held in which Defendant entered a plea

of guilty to Counts 1–4 of the indictment—i.e., (1) that Defendant did unlawfully,

knowingly, and intentionally combine, conspire, confederate and agree to possess with

intent to distribute approximately 61 kilograms of cocaine hydrochloride, and
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approximately 110 pounds of marijuana, in violation of 21 U.S.C. §§ 841(a)(1),

(b)(1)(A), (b)(1)(D), and 846; (2) that Defendant did knowingly and intentionally

possess with intent to distribute 2 kilograms of a mixture or substance containing a

detectable amount of cocaine hydrochloride, in violation of 21 U.S.C. §§ 841(a)(1),

(b)(1)(B) and 18 U.S.C. § 2; (3) that Defendant did knowingly and intentionally possess

with intent to distribute 86 pounds of marijuana, in violation of 21 U.S.C. §§ 841(a)(1),

(b)(1)(C) and 18 U.S.C. § 2; and (4) that Defendant did knowingly and intentionally

possess with intent to distribute 18 pounds of marijuana, in violation of 21 U.S.C §§

841(a)(1), (b)(1)(D) and 18 U.S.C. § 2.

        Magistrate Judge Limbert received Defendant’s guilty plea and issued a Report

and Recommendation, recommending that the Court accept the plea and enter a finding

of guilty. (Dkt. # 84.) Neither party objected to the Magistrate Judge’s Report and

Recommendation in the ten days after it was issued.

        On de novo review of the record, the Magistrate Judge’s Report and

Recommendation is adopted. The Defendant was found to be competent to enter a

plea.   The Defendant understood his constitutional rights.        He is aware of the

consequences of entering a plea. There is an adequate factual basis for the plea. The

Court finds that the plea was entered knowingly, intelligently, and voluntarily. The

Defendant’s plea of guilty is approved.

        Therefore, the Defendant is adjudged guilty of Counts 1–4. The sentencing will

be held on December 18, 2008, at 10:30 a.m.
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     IT IS SO ORDERED.

                              /s/ Peter C. Economus - October 7, 2008
                              PETER C. ECONOMUS
                              UNITED STATES DISTRICT JUDGE
